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 5
     Attorney for Plaintiff
 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10

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12                                                       2:23-cv-02689-KJM-DB
      MICHAEL WILLIAMS,
13                                                   STIPULATION AND ORDER TO EXTEND
                                          Plaintiff, RESPONSE AND REPLY DEADLINE FOR
14                                                   MOTION TO DISMISS
                     v.
15

16
      SERGEANT WEBB, CORRECTIONAL
17    OFFICERS ZXONG, ORTIZ, YANG, AND
      DOES 1-3, in their official and individual
18    capacities,

19                                     Defendants.

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                                            Stip. To Extend Responsive Pleading Deadline (2:23-cv-02689-DB)
      Case 2:23-cv-02689-KJM-DB Document 30 Filed 06/07/24 Page 2 of 2


 1           Plaintiff Michael Williams and Defendant J. Webb, by and through their counsel of record,

 2   have agreed to extend the deadline for the Response to Defendant Webb’s Motion to Dismiss to

 3   July 15, 2024 and the deadline for a Reply to the Motion to Dismiss to August 15, 2024. The

 4   reasons are (1) Plaintiff and Plaintiff’s Counsel are communicating by postal mail, and given the

 5   delays in communication, they need more time, and (2) the summer months and holiday.

 6           IT IS SO STIPULATED.

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 8    Dated:                    June 5, 2024                          /s/ Benjamin Rudin
 9                                                                    Benjamin Rudin
                                                                      Attorney for Plaintiff Michael Williams
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11    Dated:                     June 5, 2024                         /s/ Paul A. Kozina (as authorized 6/5/2024)
12                                                                    Paul A. Kozina
                                                                      Deputy Attorney General
13                                                                    California Attorney General’s Office
                                                                      Attorney for Defendant J. Webb
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                                                                   ORDER
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               Pursuant to stipulation, and good cause appearing, IT IS HEREBY ORDERED that the
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     deadline for Plaintiff Williams to respond to Defendant Webb’s Motion to Dismiss is extended to
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     July 15, 2024, and the deadline for Defendant Webb to reply is extended to August 15, 2024.
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     Dated: June 6, 2024
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     DLB:9/DB prisoner inbox/civil rights/R/will2689.mtd eot

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                                                                       2
                                                               Stip. To Extend Responsive Pleading Deadline (2:23-cv-02689-DB)
